RECEIVED                                     JUDGE DAViD GUADERRAMA

      APR26           2022

CLERK, US. DISTRICT COURT                                                Attachment 2- EEOC Complaint Form
WESTERN STRICT OF TEXAS
 5y
            1' DEPU1Y CLERK                 UNiTED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                  El Paso     DIVISION

       Deliiis Montanez Bemos




       (Name of plaintiff or plaintiffs)
                                                                                         2CV0139
                                                               Civil Action Number:
       V.
                                                                                                            (Supplied
       Chris Magnus                                                                                 by Clerk's Office)
       Commissioner
       U.S. Customs and Border Protection




       (Name of defendant or defendants)

                                                           COMPLAINT

                 1.            This action is brought by       Delins Montanez Berrios               ,   Plaintiff,
                               pursuant to the following selected jurisdiction:

                                           (Please select the applicable jurisdiction)

       [Xi       Title VII of the Civil Rights Act of 1964 (42 USC § 2000e et seq.) Employment
                   Discrimination on the basis of race, color, sex (gender, pregnancy and sexual harassment),
                   religion or national origin.

       [     j   The Age Discrimination in Employment Act (29 USC               §   621 et seq.) (ADEA).

       [X The Americans With Disabilities Act (42 USC §
             1
                                                                            12102 et seq.) (ADA).

                 The Equal Pay Act (29 USC          §   206(d)) (EPA).

           XI The Rehabilitation Act of 1973 (29 USC             §791 et seq.) (Applicable to federal employees
                      only).

                 2.            Defendant        Chris Magnus                               (Defendant's name) lives
                               at, or its business is located at 1300
                               (street address), Pennsylvania Avenue, NW.                     (city),     Washington, D.0
                               (state), 20229               (zip).

                                                                                                                       28
       Rev. Ed. October 26, 2017
     3a.          Plaintiff sought employment from the defendant or was employed by the defendant
                  at   9201 Gateway S Blvd                                       (street address),
                  (city),   El   Paso              (state),   Texas, 79924        (zip).

     3b.          At all relevant times of claim of discrimination,, Defendant employed 60,000
                  (#) employees. If defendant is a union, at all relevant times of claim of
                  discrimination Defendant had             (#) members.

     4.           Defendant discriminated against plaintiff in the manner indicated in paragraph 8 of
                  this complaint on or about          ___________(month) __________(day)
                  (year). If incidents of discrimination occurred more than one day, please indicate
                  the beginning and ending dates of such acts:4 AprIl 2016-30 November 2020


     5.           Plaintiff filed charges against the defendant with the Equal Employment
                  Opportunity Commission (E.E.O.C.) charging defendant with the acts of
                  discrimination indicated in paragraph 7 of this complaint on or about April
                  (month)        4          (day)      2016       (year). (Not applicable to federal
                  civil service employees).

      6a.         The E.E.O.C. issued a Notice of Right to Sue which was received by plaintiff on
                  (month) January 26         (day) 2022               (year). (Not applicable to
                  ADEA and EPA claims or federal civil service employees)

VERY IMPORTA1'T NOTE:                        PLEASE ATTACH A COPY OF YOUR NOTICE OF
                                             RIGHT TO SUE AND TIlE ENVELOPE IN WHICH
                                             IT WAS RECE WED TO THIS COMPLAINT.

      6b.         Please indicate below if the E.E.O.0 issued a Determination in your case:

                  IX I Yes
                  I  ]No

VERY IMPORTANT NOTE:                         IF YOU CHECKED "YES", PLEASE ATTACH A
                                             COPY OF THE E.E.O.C.'S DETERMINATION TO
                                             TillS COMPLAINT

7.    Because of plaintiff s:

                                   (Please select the applicable allegation(s))

          [X J Race (If applicable, state race)        Hispanic



          I   J    Color (If applicable, state color)


                                                                                                       29
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           I   XJ   Sex (gender, pregnancy or sexual harassment) (Ifapplicable, state sex and claim)
           [    J   Religion (If applicable, state religion)

           [XI      National Origin (Ifapplicable, state national origin)           Puerto Rican


           I    I
                    Age (If applicable, state date of birth)

           [X J     Disability (If applicable, state disability)       Diagnosed with chronic PTSD, anxiety, depression


           [X   I   Prior complaint of discrimination or opposition to acts of discrimination.
                    (Retaliation) (If applicable, explain events of retaliation) Hostile work environment

                      The defendant: (please select all that apply)

           [    J   failed to employ plaintiff.

                J   terminated plaintiffs employment.

           I    I
                    failed to promote plaintiff.

           [X   J   harassed plaintiff.

               xl   other (specify)    Forced to retire for lack of manaqenal and leadershi, support. victimisation, direct and indirect
                                       discnmination, orchestrated several Color of Law violations under Civil Rights.


      8a.           State specifically the circumstances under which defendant, its agent, or employees
                    discriminated against plaintiff PERSONALLY:

VERY IMPORTANT NOTE:                          INCLUDE SPECIFIC DATES, SPECIFIC EVENTS,
                                              AND ANY SPECIFIC COMMENTS MADE BY
                                              DEFENDANT PERTAINING TO THE
                                              DISCRIMiNATION CLAIM ALLEGED ABOVE.

Attached



      8b.           List any witnesses who would testify for plaintiffto support plaintiffs allegations
                    and the substance of their testimony:
                Also the following agents: Larry Grayson, Erik Shoriak, Jazmin Gonzalez, Michael Benjamin, Lisa Caizada,
Attached        Alicia Velazquez (R).



      8c.           List any documentation that would support plaintiffs allegations and explain what
                    the documents will prove:



                                                                                                                      30
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Freedom of Information Act requests, Law enforcement filed complaints against management officials,
national and local media articles, email commumcation internally between management omcials.
       9.       The above acts or omissions set forth in paragraphs 7 and 8 are:

                         (X   I
                                  still being committed by defendant.
                         [        no longer being committed by defendant.

             10.         Plaintiff should attach to this complaint a copy ofthe charge filed with the Equal
                         Employment Opportunity Commission. This charge is submitted as a brief
                         statement of the facts supporting this complaint.

             WHEREFORE, plaintiff prays that the Court grant the following relief to the plaintiff:

  I      I   Defendant be directed to employ plaintiff.

  [      J   Defendant be directed to re-employ plaintiff.

             Defendant be directed to promote plaintiff.
         J
                                            cease fld desist all acts of discnminataon and harasment, process my duly
                                            earned Law Enforcement Officeis Safety photograpfic dentificatkn, compensatory
       xl Defendant be directed to          and punitive damages, economic and non-economic damages
  I

           and diai ihc Couri. gwl                  iif
                                           suc.h oiici

                         damages, costs and attorneys
                                                             as tuay bc appropriatc, including injunctivc
                                                         fees.
               orders,

                                                         I declare (or certify. verify, or state) under penalty of
                                                         perjury that the foregoing is true and correct.

                                                 4.25.2022
                                                                                   ,/T?
                                                 Signature of Plaintiff       "
                                                  6108 Los Siglos Drive
                                                 Address of Plaintiff

                                                  El Paso             Texas                       79912
                                                 City                 State                       Zip Code


                                                 Telephone Number(s)          704-293-4307




                                                                                                               31
      Rev. Ed. October 26,2017
                   BEFORE THE DISTRICT 10 GRIEVANCE COMMITTEE
                             EVIDENTIARY PANEL 10-1
                              STATE BAR OF TEXAS

 COMMISSION FOR LAWYER                                §
 DISCIPLINE,                                          §
 Petitioner                                       §
                                                      §      201904383 [BRINKEMA]
 V.                                               §          202005199 [RICE]
                                                  §
 ROBERT CHRIS PITTARD                             §
 Respondent                                       §

                               JUDGMENT OF DISBARMENT

                                   Parties and Appearance

          On November 17, 2021, came to be heard the above styled and numbered causes.

 Petitioner, Commission for Lawyer Discipline, appeared by and through its attorney of

 record and announced ready. Respondent, Robert Chris Pittard, Texas Bar Number

00794465, although duly served with the Evidentiary Petition and notice of this default and

sanctions hearing, failed to appear.

                                   Jurisdiction and Venue
          The Evidentiary Panel 10-1, having been duly appointed to hear these complaints by

the chair of the Grievance Committee for State Bar of Texas District 10, finds that it has

jurisdiction over the parties and the subject matter of this action and that venue is proper.

                                            Default

          The Evidentiary Panel finds Respondent was properly served with the Evidentiary

Petition and that Respondent failed to timely file a responsive pleading to the Evidentiary

Petition as required by Rule 2.17(B) of the Texas Rules of Disciplinary Procedure.

Accordingly, the Evidentiary Panel finds Respondent in default and further finds that all

facts alleged in the Evidentiary Petition are deemed true pursuant to Rule 2.17(C) of the



CF6-120                           Default Judgment of Disbarment
                                           Page   1   of 7
Texas Rules of Disciplinary Procedure.

                                    Professional Misconduct

          The Evidentiary Panel, having deemed all facts as alleged in the Evidentiary Petition

true, finds Respondent has committed Professional Misconduct as defined by Rule

I .06(CC) of the Texas Rules of Disciplinary Procedure.

                                         Findings of Fact

          The Evidentiary Panel, having considered the allegations as deemed true, the

pleadings, evidence and argument of counsel, makes the following findings of fact and

conclusions of law:

          1.   Respondent is an attorney licensed to practice law in Texas and is
               a member of the State Bar of Texas.

          2. Respondent resides in and maintains his principal place of practice
             in Bexar County, Texas.

          3    In representing Ms Debra Jordan, Respondent neglected his
               client's matter.

          4. Respondent also frequently failed to carry out the obligations that
             he owed to Ms. Jordan by failing to respond to orders by the
             Honorable Leonie Brinkema, judge in the U.S. District Court,
             Eastern District of Virginia, who is also a Complainant in this
               matter.

          5. Robert Rice, Complainant, hired Respondent in August of 2016 to
               handle his employment discnmination matter. Respondent failed
               to properly communicate the basis or rate of his fee to Mr. Rice.

          6. During the course of the representation, Respondent failed to
               promptly comply with Mr. Rice's reasonable requests for
               information.

          7. Respondent also failed to reasonably explain     the employment
               discrimination matter to Mr. Rice so that Mr. Rice could make
               informed decisions regarding the representation.

          8. Respondent also neglected Mr. Ric&s matter.



CF6-120                              Default Judgment of Disbarment
                                              Page 2 of 7
           9. Respondent also failed to respond to Mr. Rice's grievance as
              required by the Texas Rules of Disciplinary Procedure.

           10. Respondent violated the terms of his partially probated suspension
              disciplinary judgments by committing acts of misconduct during the
             judgments' durations.

           11. Respondent misrepresented to Mr. Rice that Respondent was
               filing a bill of review for Mr. Rice's matter when he did not.

          12. The Chief Disciplinary Counsel of the State Bar  of Texas has
             incurred reasonable attorneys' fees and direct expenses
             associated with this Disciplinary Proceeding in the amount of
             $2,981.30

          13. Respondent owes restitution in the amount     of $5,270.00 payable
             to Eunice Rice, Mr. Rice's widow.

                                     Conclusions of Law

          The Evidentiary Panel concludes that, based on foregoing findings of fact, the

 following Texas Disciplinary Rules of Professional Conduct have been violated: 1.01 (b)(1),

 1.01(b)(2), 1.03(a), 1.03(b), 1.04(c), 8.04(a)(3), 8.04(a)(7) and 8.04(a)(8).

                                            Sanction
          The Evidentiary Panel, having found Respondent has committed Professional

Misconduct, heard and considered additional evidence regarding the appropriate sanction

to be imposed against Respondent. After hearing all sanction evidence and argument, the

Evidentiary Panel finds that the proper discipline of the Respondent for each act of

Professional Misconduct is Disbarment.

                                          Disbarment
          It is therefore ORDERED, ADJUDGED and DECREED that effective November 17,

2021, Respondent, Robert Chris Pittard, State Bar Number 00794465, is hereby

DISBARRED from the practice of law in the State of Texas.


CF6-12D                            Detauft Judgment of Disbarment
                                             Page 3 of 7
       It is further ORDERED Respondent is prohibited from practicing law in Texas,

holding himself out as an attorney at law, performing any legal services for others,

accepting any fee directly or indirectly for legal services, appearing as counsel or in any

representative capacity in any proceeding in any Texas court or before any administrative

body or holding himself out to others or using his name, in any manner, in conjunction with

the words "attorney at law," "attorney," "counselor at law," or "lawyer."

                                         Notification

       It is further ORDERED Respondent shall immediately notify each of his current

clients in writing of this disbarment.     In addition to such notification, Respondent is

ORDERED to return any files, papers, unearned monies and other property belonging to

clients and former clients in the Respondent's possession to the respective clients or former

clients or to another attorney at the client's or former client's request.

       Respondent is further ORDERED to file with the State Bar of Texas, Chief

Disciplinary Counsel's Office, P.O. Box 12487, Austin, TX 78711-2487(1414 Colorado St.,

Austin, TX 78701) within thirty (30) days of the signing of this judgment by the Panel Chair,

an affidavit stating that all current clients have been notified of Respondent's disbarment

and that all files, papers, monies and other property belonging to all clients and former

clients have been returned as ordered herein. If it is Respondent's assertion that at the time

of disbarment he possessed no current clients and/or Respondent was not in possession of

any files, papers, monies or other property belonging to clients, Respondent shall submit an

affidavit attesting that, at the time of suspension, Respondent had no current clients and did

not possess any files, papers monies and other property belonging to clients.

        It is further ORDERED Respondent shall, on or before thirty (30) days from the




                                     Judgment of Disbarment
                                           Page 4 of 7
 signing of this judgment by the Panel Chair, notify in writing each and every justice of the

 peace, judge, magistrate, administrative judge or officer and chief justice of each and every

 court or tribunal in which Respondent has any matter pending of the terms of this judgment,

 the style and cause number of the pending matter(s), and the name, address and

 telephone number of the client(s) Respondent is representing.

        Respondent is further ORDERED to file with the State Bar of Texas, Chief

 Disciplinary Counsel's Office, P.O. Box 12487, Austin, TX 78711-2487(1414 Colorado St.,

Austin, TX 78701) within thirty (30) days of the signing of this judgment by the Panel Chair,

an affidavit stating that each and every justice of the peace, judge, magistrate,

administrative judge or officer and chief justice has received written notice of the terms of

this judgment. If it is Respondents assertion that at the time of suspension he was not

currently listed as counsel or co-counsel in any matter pending before any justice of the

peace, judge, magistrate, administrative judge or officer, or chief justice of any court or

tribunal, Respondent shall submit an affidavit attesting to the absence of any such pending

matter before any justice of the peace, judge, magistrate, administrative judge or officer, or

chief justice.

                                     Surrender of License

       It is   further ORDERED Respondent shall, within thirty (30) days of the signing of this

judgment by the Panel Chair, surrender his law license and permanent State Bar Card to

the State Bar of Texas, Chief Disciplinary Counsel's Office, P.O. Box 12487, Austin, TX

78711-2487(1414 Colorado St., Austin, TX 78701), to be forwarded to the Supreme Court

of the State of Texas.




                                      Judgment of Disbamient
                                           Page 5 of 7
                     Restitution, Attorney's Fees and Expenses

       It is further ORDERED Respondent shall pay restitution on or before December31,

2021, to Eunice Rice in the amount of $5,270.00. Respondent shall pay the restitution by

certified or cashier's check or money order made payable to Eunice Rice and delivered to

the State Bar of Texas, Chief Disciplinary Counsel's Office, PD. Box 12487, Austin, TX

78711-2487 (1414 Colorado St., Austin, TX 78701).

       It is further ORDERED Respondent shall pay all reasonable and necessary

attorney's fees and direct expenses to the State Bar of Texas in the amount of $2,981.30.

The payment shall be due on or before December 31, 2021, and shall be made by certified

or cashier's check or money order. Respondent shall forward the funds, made payable to

the State Bar of Texas, to the Chief Disciplinary Counsel's Office, P.O. Box 12487, Austin,

TX 78711-2487 (1414 Colorado St., Austin, TX 78701).

       It is further ORDERED that all amounts ordered herein are due to the misconduct of

Respondent and are assessed as a part of the sanction in accordance with Rule 1 .06(FF)

of the Texas Rules of Disciplinary Procedure. Any amount not paid shall accrue interest at

the maximum legal rate per annum until paid and the State Bar of Texas shall have all writs

and other post-judgment remedies against Respondent in order to collect all unpaid

amounts.

                                       Publication

       It is further ORDERED this disbarment shall be made a matter of record and

appropriately published in accordance with the Texas Rules of Disciplinary Procedure.




                                   Judament of Disbarment
                                         Page 6 of 7
                          Conditions Precedent to Reinstatement

      It is further ORDERED payment of the foregoing restitution and attorney's fees and

expenses shall be a condition precedent to any consideration of reinstatement from

disbarment as provided by Rules 219, 2.20 and 11.02(0) of the Texas Rules of

Disciplinary Procedure.

                                      Other Relief

      All requested relief not expressly granted herein is expressly DENIED.


      SIGNED this 17th        day of November              ,   2021.


                                         EVIDENTIARY PANEL
                                         DISTRICT NO. 10-1
                                         STATE BAR OF TEXAS


                                          /w'jL ,E&%:
                                         ROBERT L. RUSH
                                         District 10-1 Presiding Member




                                  Judgment of Disbarment
                                       Page 7 of 7
4/26/22, 5:55 AM                                         State Bar of Texas Find A Lawyer   Robert Chris Pittard




                                                                      T)
    MR. ROBERT CHRIS 'CHRIS' PITTARD
         Not Eligible to Practice in Texas (dick for detail)


    PITTARD LAW FIRM                                                                            CONTACT INFORMATION

    8ar Card Number: 00794462
                                                                                                Tel: 210-678-3075       v'...



    TXLicense Date: 21/03/1995

    Primaiy Practice Location: San Antonio Thxas

    /     AL                  1/)   tc
         10/000, 10       '2        / -oO I



    PracticeAreas: Labor-EmDftynlent




    Statutory Profile Last Certified On: 04/26/2018

    PRACTICE INFORMATION

     irrn: Pittard Law Firm
                                                                                        COURTS OF ADMITTANCE
    Firm Size:   2   to   5
                                                                                        Federal:
    Occupation: Private Law Practice                                                    Hfth Circuit Court of Appeals
                                                                                        Texas Southern     Distnd/Banl<ruptcy Cour
    Practice Areas: Labor-Employment
                                                                                        Texas \'Vestern   District Court
    Services Provided:
                                                                                        Other Courts:
    Deaf/Hard of Hearing translation: Nm Spechien
                                                                                        None Reported By Attorney
    ADA-accessible chent service' Not Specified
     ariguage translataon: Not Specined                                                 Other States Licensed:
                                                                                        None Reported By Attorne'
   Fee Options Provided:              0
   None Reported 6y Attorney
                                                                                        P/pn'zp not?'' Thi': infiirmn/joi   ,c   c,/f,pii'orpd
4/26122,5:55 AM                              State Bar of Texas I Find A Lawyer I Robert Chris Pittard




    Foreign Language Assistance:
    Spanish



    LAW SCHOOL

      School
      Degree earned

      St.   Harys University
      Graduation Date      05/1995




    PUBLIC DISCIPLINARY HISTORY

    State of Texas

      Sanction                            Entry date


      Disbarment                          11/17/21


       Start Enc)
      Sanction


      (Starr-Eno(
      Sanction


      PartiaPy Probated Suspension        10/29/18


      (Start-End
      Sanction      11/01/18   12/31/18

      (St wy-End)
      Sanction      01/01/19   12/31/20

      Pubtic Reprimand                    02/22/iS


      (Start-End)
      Sanction


      (StwfEncI)
      Sanction


      ParUa(tv Probated Suspension        01/3 2/17


      (Start-End
      Sanction      12/24/16 01/07/17




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4/26/22,5:55 AM                                                                                  State Bar of Texas Find A Lawyer
                                                                                                                            I                  I
                                                                                                                                                   Robert Chris Pittard


      Sanction                                                                               Entiy date




      jltait-End)
      Sanction              12/24/16 01/07/17

      (Start-Efld,i
      Sanction           01/08/17                   12/23/18

      PartialLy Probated Suspension                                                          01/12/17


       Start-Ena
      Sanction              12/07/17 12/21/57

      jStart-End
      Sanction           12/22/17                  12/23/18

      Public Reprimand                                                                       12/10/07


      tStart-End)
      Sanction


      (Start End)
      Sanction




    Other States
    None Reported By Attorney




    Sanrtwns that ndtcate          a    judgment        a   on appeal are     stIl in       elfect hut are not final and subject to change.        To   request   a   copy of a disciplinary Judgment that is not
     raitahie octeot   cc   tsr   :1   care   imiormatroc a host      a    spOci hr   ci    scipiirary sanction   srmsci   eicavy. psease contact the     tftce of     ticC   hf Discipiiromr/ Counsel    a5

    9S3-55 t S


    the   Texas Attorney Profile provides basic                nformation about Attorneys licensed to practice in Texas Attorney profile information is provided as a oublic service by
    me slate tier of Tnas as outlined in Section                  8 1hS of the texas tiovernment Cocie The information contained herein is provided      s    with no warranty of ens
    kind, express or implied. Nether he State                   Pam   of Texas nor its Etoaici ol Directors, nor any employee thereof may Ire helO responsible for the accuracy                           Ci   the data
    Much   ci the information          has beer jrstvicled by the at! orne' anti is myms red to be reviewed a'rcl sedated by 'he aOnt                         cry annual tsr The       icifnrmnati air noted   with an
    esteciak LI ;s provided Isy !h             State   tar of Teeas. Access       do       this 515 ;s authorized for publir use only. Any unauthorized use of tins sysLem is subject to both ned
    arid ccmmnal perraltes.        fhi        clues not crinatitute    a   certified Lsw'jer referral service




                                                                                                                                                                                                                          3/3
                                          Deliris Montanez
                                        6108 Los Siglos Drive
                                        El Paso, Texas 79912
                                           (704) 293-4307

 Robert Chris Pittard


 c_k_pittard@yahoo.com

 Subject: Failure to follow a direct order from the State Bar of Texas on client's files and
 unearned attorney's fees.

Immediately, requesting the $10,000 of unearned fees from the retaliation case with
Customs and Border Protection (CBP) and the delivery of all my files to be allowed the
opportunity to continue my cases.

You were hired from 26 February 2016 to when you were disbarred to represent me on several
discrimination and retaliation cases against CBP. That involved several agency's processes in
place, the Equal Employment Opportunity Commission (EEOC) and the Merit System Protection
Board (MSPB). Below are all the fees I have paid during the time in question. I am sure I am
missing some expenses.

2-26-2016 $5,000 First EEO
10-5-2016 $1,000 EEO
12-2016 $1,500
3-17-2017 $500
5-2-2017 $1,000
1-17-2017 $435.93 Travel Expenses
9-19 & 20-2017 $725.55 Travel Expenses
11-1-2017 $347.85 Travel Expenses
12-1-2017 $1,181.80 Depositions
4-9-20 18 $345.57 Travel Expenses
6-20-2018 $362.35 Travel Expenses
12-10-2019 $1,500 OFO Appeal (EEO)
6-15-2020 $1,500 MSPB
6-15-2020 $1,500 EEO
Total $16,899.05

On 17 November 2021, you went before the District 10 Grievance Committee Evidentiary Panel
 10-1 State Bar of Texas and you received the following notification:
"It is further ORDERED Respondent shall immediately notify each of his current clients in
writing of this disbarment. In addition to such notification, Respondent is ORDERED to return
any files, papers, unearned monies and other property belonging to clients and former clients in
the Respondent's possession to the respective clients or former clients or to another attorney at
the client's or former client's request."
 On the same day, you were ORDERED to provide within thirty (30) days of the signing of the
judgment by the Panel Chair, an affidavit stating that all current clients have been notified of
 Respondent's disbarment and that all files, papers, monies and other property belonging to alt
 clients and former clients have been returned."

You iäi!ed to follow the STATE BAR OF TEX_kS ORDER in its entiret. If it was not because
I consistently reached out to you via email, text, phone, and social media platforms, I would have
never found out you were disbarred and could not practice law any longer. On 7 March 2022,
you finally replied and stated, 'My practice has been closed down. and so I can no longer
represent clients in any matters.' Iliad to dig into the matter on the State Bar of Texas webpage
to find out what was going on. I even missed the opportunity to file for reconsideration on the
first FF0 case as ou were on probation and could not represent any clients for a period of two
months and the deadline was within that period.

ce/MernberDirectory/MemberDirectoryDetail.cfm&Contact          I   l)= 56493
                                                                      I




On 8 September 202!. after I was forced and coerced by you to agree to a settlement with CBP I
did not particularly agree with, we closed the retaliation case with the agency. On that
agreement you crippled me on getting a settlement that was more appropriate with the merits of
the case. There were $ 10.000 attorney's fees that you suppose to reimburse me for as fees were
alrcady paid and as of today's date. I have not seen those unearned fees. That was the agreement
when i decided to agree w jib iIe seitietiieiii.

On 26 January 2022, more likeN' because       of your disbarment as VOLI had to inftwm the order. the
 EEOC) demed ow requect for reconsideratioi on the second and third FF0 cases that were
combined, and now I have no option than to find a new auurney to take the case to file it on the
tinitcd States District Court. Why did I spend all the attorney's fees for the EEOC process if
99.9% of the cases are on public agencies favor? You constantly told me the case needed to be
taken to district court to be settled but first we needed to exhaust all administrative processes.

Igave you until 30 March 2022, to fulfill this request and you have not done so. My next step
wit!be to file a claim in court if we cannot resolve this matter 10 days after you receive this
correspondence via email and/or certified mail. The payment can he made electronically via
PavPa! to the email address below, or cash app at the number below for faster service.

I   can be reached at (704) 293-4307 and/or deemontanez)hotmail.corn

Respectfully,



Debris Montane,
Client 2016-2021

CC:
State Bar of Texas, Chief Disciplinary Counsel's Office (via email/mail)
                           UNITED STATES OF AMERICA
            BEFORE THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                         INDIANAPOLIS DISTRICT OFFICE
DELIRIS MONTANEZ                               §      EEOC NO. 450-2017-00293X
Appellant,                                     §
                                               §
v.                                            §       AGENCY NO. HSC-BP-25773-2016
                                              §                  IISC-BP-00027-2017
John F. Kelly, Secretary                      §
DEPARTMENT OF HOMELAND                        §      Hon. Johanna Philhower Maple
SECURITY                                      §
Agency                                        §      DATE: November 9, 2017


                         COMPLAINANT'S PROPOSED WITNESS LIST
       NOW COMES Deliris Montanez, by and through her designated representative, and
submits this proposed list of witnesses she intends to call during the hearing in the above
captioned case.

      1.   Deliris Montanez
           Complainant
           do Forte & Pittard, PLLC
           1777 NE Loop 410, Ste. 600
           San Antonio, TX 78217

           Ms. Montanez is the Complainant and has personal knowledge of her claims.

           Watch Commander Jose Tiscareno
           do U.S. Customs and Border Protection
           Asst. Chief Counsel's Office
           9434 Viscount Blvd., Ste. 200
           El Paso, Texas 79925-7053

           WC Tiscareno has knowledge of Complainant's claims of discrimination concerning the
           on-line PALMS course in February 2016.

     2.    Watch Commander Martin Morales
           do U.S. Customs and Border Protection
           Asst. Chief Counsel's Office
           9434 Viscount Blvd., Ste. 200
           El Paso, Texas 79925-7053

           WC Morales has knowledge of Complainant's claims of discrimination concerning the
           letter of counseling in February 2016, and memorandum for record in May 2017.
3. Senior Border Patrol Agent Jimmie Scott
   do U.S. Customs and Border Protection
   Asst. Chief Counsel's Office
   9434 Viscount Blvd., Ste. 200
   El Paso, Texas 79925-7053

   SBPA Scott has knowledge of Complainant's claims of discrimination concerning
                                                                                            the

   letter of counseling from February 2016.

4. Senior Border Patrol Agent Juan Saenz
   do U.S. Customs and Border Protection
   Asst. Chief Counsel's Office
   9434 Viscount Blvd., Ste. 200
   El Paso, Texas 79925-7053

    SBPA Saenz has knowledge of Complainant's claims of discrimination concerning the
    gate code incident in February 2016.

5. Senior Border Patrol Agent Charles Vigatto
    do U.S. Customs and Border Protection
    Asst. Chief Counsel's Office
    9434 Viscount Blvd., Ste. 200
    E P,     iexs 79925-7053
    SBPA Vigatto can testify as to SBPA Saenz's animus towards Complainant and her filed
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                                            t-t         as      jnilnt at the
    gymnasium   in   August 2015 which resulted   in the letter of   counseling in February 2016.


 6. Senior Border Patrol Agent Ramon Sifuentes
    do U.S. Customs and Border Protection
    Asst. Chief Counsel's Office
    9434 Viscount Blvd., Ste. 200
    El Paso, Texas 79925-7053

    SBPA Sifuentes can testify as to SBPA Saenz's disparate treatment of Complainant.

 7. Border Patrol Agent Fernando Landeros
    do U.S. Customs and Border Protection
    Asst. Chief Counsel's Office
    9434 Viscount Blvd., Ste. 200
    El Paso, Texas 79925-7053


    BPA Landeros has knowledge of the disparate treatment of Complainant by Agency
    management officials.
                           UNITED STATES OF AMERICA
             BEFORE THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                         OFFICE OF FEDERAL OPERATIONS

DELIRIS MONTA1EZ                                §       DOCKET NO. 2020001577
Appellant,                                      §
                                                §       EEOC No. 450-2017-00293X
v.                                              §       AGENCY NO. HSC-BP-25773-2016
                                                §                    HSC-BP-00027-2017
Alejandro N. Mayorkas, Secretary,               §
DEPARTMENT OF IIOMELANI)                        §
SECURITY                                        §
Agency                                          §       DATE: September 10, 2021

                    APPELLANT'S MOTION FOR RECONSIDERATION

TO THE OFFICE OF FEDERAL OPERATIONS:

       NOW COMES Appellant, Deliris Montañez ("Montaflez" or "Appellant"), and

respectfully files this, her Motion for Reconsideration of the Office of Federal Operations

decision in the instant case.

                                          I.
                                PROCEDURAL BACKGROUND

       On April 3-4, 2018, the Administrative Judge held a hearing in the above-numbered and

styled case. On August 2, 2019, the Administrative Judge issued her Decision and Order in

favor of the Agency. The Agency issued its FAD on November 20, 2019, and received by

Appellant on November 25, 2019, implementing the decision of the Administrative Judge.

       In   contrast, Appellant disagreed with the Administrative Judge's decision and filed her

Appeal with the Office of Federal Operations on January 13, 2020. On August         Il, 2021, OFO
issued its decision upholding the decision   of the Administrative Judge.
       Appellant believes the decision is in error and files this Motion for Reconsideration.




                                                    I
                                                               II.
                                                      FACTUAL BACKGROUND

           Appellant, Ddliris Montañcz, a Hispanic woman, is currently a Border Patrol Agent with

the Bureau of Customs and Border Protection (CBP), and the U.S. Department of Homeland

Security (DHS). Appellant's supervisors include BPA Jimmie Scott, Watch Commander Martin

Morales. BPA Juan Saenz. Jr.. Watch Commander Jose Tiscareno during the relevant periods of

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            In this EEO complaint, Appellant alleges that she was subjected to discrimination on the

basis of her race/national origin, Hispanic/Puerto Rican, her sex, female, and reprisal for

previous EEO activity.


                                                               III.
                                                         ACCEPTED ISSUES

            The accepted claims in this case are:

            Whether Customs and Border Protection (CBP) discriminated against
            Complainant, Border Patrol Agent, GS-1896-12, assigned to the El Paso Border
            Patrol Station, El Paso, TX, when she was allegedly subjected to harassment based
            on her sex (female), race (Hispanic), national origin (Puerto Rican), and reprisal
            (prior EEO activity), when the following occurred;

                   1.      On February 10, 2016, a Supervisor Watch Commander Jose Tiscareno
                           questioned her about completing her required online courses even though
                           her first line supervisor had already spoken to her about the courses;

                   2. On February 10, 2016, a Supervisor BPA Jimmie Scott issued her a
                      memorandum alleging she engaged in unprofessional conduct;
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                                                   Supervisor
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                           time when she asked for the access code to the gate of the El Paso
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                   4. On February                     17, 2016, she was assigned to cover two Areas    of
                           Responsibilities (AORs) by herself.
            5. On August 23, 2016, September 4, 2016, and September 12, 2016, her
               requests for official time to participate in EEO activities were denied.

            6. On May 7, 2017, Martin Morales, Watch Commander, issued a Performance
               Counseling to Complainant for not signing a policy roster on December 12, 2016.

                                                Iv.
                              ARGUMENT AND AUTHORITIES

        The Administrative Judge Erred When She Determined There was No Evidence to
        Support Appellant's Claims of Discrimination Based on Sex-based discrimination, and
        Retaliatory Harassment

        In her decision, the Administrative Judge erred when she stated that Appellant lacked

credibility, particularly when it was shown that management officials lied under oath, either at

the hearing or during deposition testimony. The judge stated every management official was

credible and attributed every inconsistency in testimony to "fading memory" and "lack of indicia

of fabricating answers."   The Administrative Judge determined there was no evidence of sex-

based discrimination, national origin discrimination or retaliatory and national origin harassment.

       Issue No.   1


       In her testimony, Appellant described Tiscareno' s conduct on February 9, 2016, as

harassing, that he followed her out of the building, into the parking lot speaking loudly to her

harassing her about taking online courses even though she had previously discussed it with her

supervisor Jimmie Scott. Of course, Tiscareno's testimony about his demeanor was different

than that of Appellant. He testified he did not "harass" Appellant, and that he did not raise his

voice or badger Appellant about the online courses. Tiscareno admitted he did not talk to any

other male agents that were listed on the email that listed Appellant as not having completed the

course. He gave no reason for the discrepancy. This is the essence of discriminatory treatment.

Appellant was treated less favorably than her male counterparts who had also not completed the


                                                3
online course. This conduct by a senior supervisor would certainly help create the hostile work

environment of which Appellant complains.

       Issue No. 2

       On February 10.      2016. BPA Jimmie Scott issued Appellant a memorandum of

counseling for a verbal altercation between Appellant and a male coworker, Daniel Ortiz. The

memorandum was placed in Appellant's personnel file. In the memorandum, it states a similar

one would be issued to Ortiz. However, the Agency never produced a written memorandum that

was ever placed in Ortiz's file. BPA Scott in his testimony during the hearing stated he did not

issue the memorandum to Ortiz; however, during his deposition testimony, Scott stated he had

issued the memorandum to Ortiz. (Appellant's Exhibit 1, Scott deposition, pp. 17, 20). This

huge discrepancy was brought out during the hearing. Either Scott lied during his deposition or

he lied during the hearing.     In fact, as the preponderance       of the evidence shows, Watch

Commander Martin Morales issued a verbal counseling to Ortiz, but no written counseling was

placed in his file. Scott never issued either a verbal or written counseling to Ortiz. The evidence

was clear, Appellant was treated in a less-favorable manner than her male coworker Ortiz, and

the Agency officials lied about issuing him a written counseling.

       In his testimony during the hearing, Morales testified that he did not give Ortiz the verbal

counselling, although the memorandum stated he did. In addition, Morales testified under oath,

during his deposition that he verbally counseled Ortiz.          (Appellant's Exhibit 2,    Morales


deposition, pg. 39). This was pointed out to the judge at the hearing and the portion of the

transcript read into the record. Morales either lied at the hearing or during his deposition.

        However, as with all the management officials, the judge chalked up these

"inconsistencies"to fading memory, but stated all the management officials were credible.


                                                  4
        Two management officials lied about the counseling of Ortiz. In that case, the court may

infer discrimination based on the falsity of the employer's reasons for its actions. Reeves                     v.


Sanderson Plumbing Products,          Inc.,    530 U.S. 133, 146, 120 S.Ct. 2097, 2108 (2000).                The

Administrative Judge erred when she gave carte blanche credibility to management officials and

any testimony given by Jimmie Scott or Martin Morales should be given less credibility than that

of Appellant.

        Issue No. 6

       On May    7,   2017,   Martin Morales issued a memorandum to Appellant for an incident that

occurred on December      12, 2016.    He was aware that Appellant had been verbally counseled for

not signing a muster roster by her supervisor BPA Galindo on December                  13,   2016.   Morales still

felt it necessary to give Appellant a written memorandum that could be placed in her electronic

personnel file. He admitted he was not aware that on December                13,   2016,   BPA Galindo told all

the agents who had not signed the roster to sign it. All the other agents were male. The only

agent that was verbally counseled for not signing the roster was Appellant. The oniy agent who

was given a memorandum for failing to follow instructions was Appellant, the only female agent

on that shift. Morales admitted that there were agents at different times that did not sign the

roster, but he has never issued any written memoranda to them, only Appellant. Morales also

admits that it was reasonable for Appellant to read the policy before signing the roster stating she

read and understood the policy. (Appellant's Exhibit 2,            pp. 19, 20, 23-24, 25).


       In his testimony during the hearing, Morales testified that his motivation for issuing the

memorandum five months after the incident was to support his supervisor Galindo, which is

different than his testimony where he stated he was directed to give the memorandum to

Appellant. (Appellant's Exhibit       2, pp.   25-26).       Again, when different reasons are given for an


                                                         5
employer's action, the court may infer discrimination based on the falsity of the employer's

reasons for its actions. Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 146, 120

S.Ct. 2097, 2108 (2000).

       Hostile Work Environment

       A hostile environment can also he created when there are perceived inequities of
                                                                                (6th Cir. 1999).
treatment.        See e.g., Williams v. General Motors Corp., 187 F.3d 553, 562

Finally, although conduct may not be overtly racial in nature,         if it is directed at a person because

that person is Black, that conduct can be considered harassing behavior because of race and

satisfies the "based on race" requirement for establishing a hostile work environment. See e.g.,

Williams, 187 F.3d at 565; Daniels v. Essex Group, Inc., 937 F.2d 1264, 1273                 (7' Cir.   1991);

Andrews      V.   ('ily   of Philadelphia, 895 F.2d 1469, 1485   (3d Cir. 1990); Lipselt v. University of

Puerto Rico, 864 F.2d 881, 905          (1st Cir. 1988). Although Appellant is not Black, it is   analogous

to her situation. When the conduct is not overtly based on sex, hut is directed at the only female,

then that can satisfy the "based on sex" requirement.

        In sum, a work environment viewed as a whole may satisfy the legal definition                    of an

abusive work environment, for purposes of a hostile work environment claim, even though no

single episode crosses the Title VII threshold. Oncale           v.   Sundowner   Offshore   Services, Inc.,

523 U.S. 75, 118 S.Ct. 998, 1003 (1998).

        In this case, Appellant believed that she was experiencing a hostile work environment.

Primarily, Appellant's hostile work environment was created by the inequities in how she was

treated compared to her male coworkers.            This was shown in her testimony on all the issues as

stated above. There was no evidence that the Agency treated any male coworkers the same way

as Appellant was treated.            The evidence shows that management officials lied about their
treatment of Appellant and that should allow the factfinder to find discrimination.

        All of the management officials admitted they were aware of Appellant's previous EEO

activity. Morales admitted he had an animus towards Appellant because of her complaining

about her hostile work environment, bringing grievances, and accusing coworkers of bad

behavior. (Appellant's Exhibit 2, pp. 3 1-32).           Again, the evidence shows that management

officials lied about their treatment of Appellant and that should allow the factfinder to find

retaliatory motive by management officials.

        To compound the Administrative Judge's erroneous decision, the OFO upheld her

decision with the following rationale,

         "Beyond her own assertions, Complainant has presented neither affidavits, declarations,
 unsworn statements, or hearing testimony from witnesses other than herself nor documents
which contradict or undercut the explanations provided by the various named management
officials, which cast doubt upon their veracity as witnesses, or which establish the existence of at
 least one of the indicators of pretext listed above. We note also that the AJ made extensive and
detailed assessments of the credibility of the witnesses, finding Complainant less credible as a
witness than the supervisors and managers who were called to testify. An AJ's credibility
determination based on the demeanor of a witness or on the tone of voice of a witness will be
accepted unless documents or other objective evidence so contradicts the testimony or the
testimony so lacks in credibility that a reasonable fact finder would not credit it." Deliris
Montanez v. DepL of Homeland Security, EEOC Appeal No. 2020001577, 3* (August 11,
2021).

       Clearly, the Supreme Court has held that when supervisors lie, that is an inference of

discriminatory intent and a pretext for discriminatory conduct.            Reeves   v.   Sanderson Plumbing

Products, Inc.,     530 U.S. 133, 146, 120 S.Ct. 2097, 2108 (2000).            In this case, Appellant did

provide deposition testimony that contradicted management officials' testimony at the hearing.

Specifically,   .   BPA Scott in his testimony during the hearing stated he did not issue the

memorandum to Ortiz; however, during his deposition testimony, Scott stated he had issued the

memorandum to Ortiz.         (Appellant's Exhibit       1,   Scott   deposition, pp.     17, 20).   This huge



                                                    7
discrepancy was brought out during the hearing. Additionally, Martin Morales testified that he

did not give Ortiz the verbal counselling, although the memorandum stated he did. In addition,

Morales testified under oath, during his deposition that he verbally counseled Ortiz. (Appellant's

Exhibit 2, Morales deposition, pg. 39). This was pointed out to the .judge at the hearing and the

portion of the transcript read into the record. Morales and Scott either lied at the hearing or

during their depositions. Finally, Morales admitted he had an animus towards Appellant because

of her complaining about her hostile work environment, bringing grievances, and accusing

coworkers of bad behavior. (Appellant's Exhibit 2, pp. 31-32). Re admitted it! CLearly this is

direct evidence of reprisal and Morales' retaliatory motive towards Appellant.

        Direct evidence is evidence that, if believed, proves the fact of discriminatory aniinus

without inference or presumption. See Rachid v. Jack in the Box, Inc., 376 F.3d 305, 310 fn.6

(5th Cir. 2004). Intentional disparate treatment may be shown by the use of direct evidence that

the employer intentionally discriminated against the plaintiff based on unlawful reasons.

Mooney    v.   Aranico Services Co., 54 F.3d 1207, 1217 (5th Cir. 1995). To withstand an

employer's motion for summary judgment, a plaintiff-employee must present sufficient

evidence, whether by direct or circumstantial evidence or both, that she was discriminated

against by the employer. Acker ,'. Deboer, Inc., 429 F.Supp.2d 828, 837 (N.D. Tcx. 2006).

Where a plaintiff provides direct evidence of discrimination, then the McDonnell Douglas

[burden-shifting framework] test is inapplicable. See Trans World Airlines, Inc. v. Thurston,

469   U.S. 111, 121, 105   S.Ct. 613; see also Jones   v.   Robinson Properly Group, 427 F.3d 987,

992 (5th Cir. 2005).

        Clearly, the Administrative Judge did not take this into consideration, nor did OFO in its

decision. Both the Administrative Judge and OFO gave carte blanche to the Agency officials,


                                                 8
and gave no credibility to the Appellant, which is completely erroneous on the Administrative

Judge's part and OFO for regurgitating her opinion rather than actually looking at the evidence

presented by the Appellant and applying the law.

        These key management officials were clearly lying at the hearing and that should have

been taken into consideration by the Administrative Judge and the OFO, and it was an egregious

error and a travesty of justice on the part of the Administrative Judge and the OFO not to have

found in Appellant's favor on her claims of discrimination when these management officials are

lying through their teeth under oath and committing perjury.

        The Administrative Judge Erred in Determining Appellant Did Not Suffer Any Change in
        her Pay, or Benefits

        The loss of pay or benefits for each occurrence is not the proper standard, when the claim

of harassment and hostile work environment         is to be looked at in the "totality      of the

circumstances." The requirement for harassment to reach the level of hostile work environment

is both a subjective requirement and an objective one; one that a reasonable person would find

hostile or abusive, and one that the victim did in fact perceive to be so. Indest    v.   Freeman

Decorating, Inc., 164 F.3d 258, 263 (5th Cir 1999). In determining whether conduct rises to this

level, the "totality of the circumstances" must be considered. In this regard, one should consider

"the frequency of the discriminatory conduct; its severity; whether it is physically threatening or

humiliating; and whether it unreasonably interferes with an employee's work performance." To

be actionable the conduct must be severe or pervasive.          Id. at 264; see also Oncale      v.


Sundowner Offshore Services, Inc., 523 U.S. 75, 81(1998).

       The events, as described by Appellant over a period of time from February 2016 through

May 2017 could be described as pervasive, and certainly interfered with Appellant's ability to
perform her job as she testified at the hearing. Appellant was treated less favorably than her

male coworkers by management officials that have shown an animus towards her and have gone

out of their way to treat her with disdain and disrespectfully.             This was a hostile work

environment for Appellant and negatively impacted her work environment.

                                                     V.
                                              CONCLUSION

        The Administrative Judge and the OFO erred in determining there was no evidence to

support Appellant's claims of national origin and sex-based discrimination, and retaliatory

harassment. As a minimum, the Administrative Judge should have found there was sex-based

discrimination and that a           hostile work environment existed for Appellant.      Instead, the

Administrative Judge threw the baby out with the bathwater because it was easier than actually

finding iliscrür;inatioii    iii thy 1wni   ol st-based    und fe4liatory harassment and hostile work

environment.

        The evidence clearly shows that Appellant was treated less favorably than maie

coworkers in Issues         1,   2 and 6.   In each situation, the management official admitted that

Appellant was the only agent so treated, and no male agent in similar circumstances was treated

as was Appellant. The evidence shows that management officials lied either during the hearing

or under oath in deposition. This was pointed out to the Administrative Judge who discounted

any issues of inconsistencies and gave complete credibility to management officials when it is

clear they lied.    In particular BPA Jimmie Scott and Martin Morales lied about the written

counseling given to Daniel Ortiz. WC Tiscareno lied about the occurrence in the hallway and his

harassment of Appellant; and Morales again lied about the May 7. 2017, memorandum.

        When management officials lie about what occurred in the workplace that allows the



                                                      l0
factfinder to infer discriminatory intent. The Agency's legitimate non-discriminatory reasons for

the actions of which Appellant complains are pretext for discriminatory intent.

          The preponderance of the evidence supports Appellant's claims of discrimination for

Issues 1, 2 and 6, and for her claims of a hostile work environment based on her sex, female and

reprisal for engaging in prior EEO activity. Appellant requests the Commission reverse the

Administrative Judge's decisions on those issues and award her compensatory damages for

emotional pain and suffering and attorneys' fees.

          The OFO's decision was equally erroneous for the same reasons as stated above. The

mere "rubber stamping" of the Administrative Judge's decision after an 18-month period shows

a lack   of analysis and a lack of review of the record by the OFO.
          WHEREFORE, PREMISES CONSIDERED Appellant Deliris Montafiez prays the

Commission reverse the decision of the OFO and the Administrative Judge in favor of the

Agency as stated above, and grant to Appellant Deliris Montañez all other relief, whether at law

or in equity, to which she may be justly entitled.


                                               Respectfully submitted,

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                                               By: Is! R. Chris Pittard
                                                 R. CHRIS PITI'ARD
                                                  State Bar No. 00794465

                                               A1TORNEY FOR APPELLANT



                                                 11
                               CERTIFICATE OF SERVICE

      I hereby certif     that a true and correct copy of the Appellant's Motion for
Reconsideration was scnt via cfiling through the EEOC Public Portal the 10th day of September
2021, to the following:


U. S. Equal Opportunity Commission
Offlce of Federal Onerations
P.O. Box 77960
Washington, D.C. 20013



AGENCY:
Executive Director
Office of Diversity and Civil Rights
U.S. Customs and Border Protection
Ronald Reagan Bldg., Room 3.3D
1300 Pennsylvania Ave., NW
Washington, DC 20229

Russell Wardlow
Agency's Representative
U.S. Customs and Border Protection
94i4 viscount iva., uiie zuu
El Paso, TX 79925-7053


APPELLANT
Deliris Montañez
6108 Los Siglos Drive
El Paso, TX 79912


                                           /s/ R. Chris Pittard
                                           R.   CHRIS PITTARD




                                                12
    4          U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                             Office of Federal Operations
                                    P.O. Box 77960
                               Washington, DC 20013

                                    Deliris Montanez, a/k/a
                                          Bernice B.,'
                                         Complainant,

                                               V.



                                   Alejandro N. Mayorkas,
                                          Secretary,
                               Department of Homeland Security,
                                (Customs & Border Protection),
                                           Agency.

                                   Appeal No. 2020001577

                                 Hearing No. 450-2017-00293X

                   Agency Nos. HS-CBP-25773-2016 & HS-CBP-00027-2017

                                          DECISION

On December 13, 2019, Complainant filed an appeal, pursuant to 29 C.F.R. § 1614.403(a), from
the Agency's November 14, 2019 final order concerning her equal employment opportunity
(EEO) complaint alleging employment discrimination in violation of Title VII of the Civil Rights
Act of 1964 (Title VII), as amended, 42 U.S.C. § 2000e et seq.

Complainant worked as a Border Patrol Agent, GS-1 896-12, at the Border Patrol Station in El
Paso, Texas. On April 4, 2016, Complainant filed a formal EEO complaint (Agency No. HS-
CBP-25573-2016) alleging that the Agency discriminated against her and siibjected her to a
hostile work environment on the bases of race (Flispanic)2, national origin (Puerto Rican), sex
(female), and reprisal (prior EEO activity) when:

       1.   On February 10, 2016, Complainant's Watch Commander, her second-line supervisor
            (S2a) questioned her about completing her required online courses even though the



 This case has been randomly assigned a pseudonym which will replace Complainant's name
when the decision is published to non-parties and the Commission's website.
2
 Though Complainant identified her race as "Hispanic", we note that the Commission views
"Hispanic" to denote national origin rather than race.
                                                2                                    2020001577

            Supervisory Border Patrol Agent who served as her immediate supervisor (S Ia) had
            already spoken to her about those courses;

       2.   On February 10, 2016, Sla issued Complainant a memorandum alleging she engaged
            in unprofessional conduct;

       3.   On February 17, 2016, another Supervisory Border Patrol Agent (Sib) gave her a
            hard time when she asked for the access code to the gate of the El Paso Processing
            Center; and

       4.   On February 17, 2016, Complainant was assigned to cover two areas of
            responsibilities by herself.

On November 16, 2016, Complainant filed a second EEO complaint (Agency No. HS-CBP-
00027-2017) alleging that the Agency discriminated against her and subjected her to a hostile
work environment on the bases of sex (female), race/national origin (Hispanic/Puerto Rico), and
reprisal (prior EEO activity) when:

       5.   On August 23, 2016, September 4, 2015, and September 12, 2016, management
            officials denied Complainant official time to participate in EEO activities; and

       6.   On May 7, 2017, another Watch Commander (S2b) issued a performance counseling
            to Complainant for not signing a policy roster on December 12, 2016, while no other
            agents had been counseled for not signing the policy roster.

The complaints were consolidated.           Following an investigation, the Agency provided
Complainant with a copy of the report of investigation and notice of her right to request a
hearing before an Equal Employment Opportunity Commission (EEOC or Commission)
Administrative Judge (AJ). Complainant timely requested a hearing. The AJ held a hearing on
April 3 and April 4, 2018. On August 16, 2019, the AJ issued a decision finding that
Complainant was not subjected to discrimination or reprisal as alleged.              The Agency
subsequently issued its final order fully adopting the AJ's decision. The instant appeal followed.

Pursuant to 29 C.F.R. § 16 14.405(a), all post-hearing factual findings by an AJ will be upheld if
supported by substantial evidence in the record. Substantial evidence is defined as "such
relevant evidence as a reasonable mind might accept as adequate to support a conclusion."
Universal Camera Corp. v. National Labor Relations Board, 340 U.S. 474, 477 (1951) (citation
omitted). A finding regarding whether or not discriminatory intent existed is a factual finding.
See Pullman-Standard Co. v. Swint, 456 U.S. 273, 293 (1982). An AJ's conclusions of law are
subject to a de novo standard of review, whether or not a hearing was held.

To prevail in a disparate treatment claim such as this, Complainant must satisf' the three-part
evidentiary scheme fashioned by the Supreme Court in McDonnell Douglas Corp. v. Green, 411
U.S. 792, 802 (1973). Her first step would generally be to establish a prima facie case by
                                                 3                                    2020001577

demonstrating that he/she was subjected to an adverse employment action under circumstances
that would support an inference of discrimination. Furnco Const. Co. v. Waters, 438 U.S. 567,
576 (1978). The prima facie inquiry may be dispensed with in this case, however, since Agency
officials articulated legitimate and nondiscriminatory reasons for their actions. See U.S. Postal
Service Bd. of Governors v. Aikens, 460 U.S. 711, 713-17 (1983). With regard to incident (1),
S2a testified that he was unaware that Sla had talked to Complainant about completing the
necessary courses, a fact to which Complainant admitted at the hearing. As to incident (2), Si a
testified that Complainant had gotten into a verbal altercation with another agent and both
Complainant and that agent were given counseling memoranda for unprofessional conduct.
Concerning incident (3), Complainant had forgotten the access code to the processing center, and
the on-duty supervisor buzzed her in and later wrote down the code for her. Regarding incident
(4), a manager testified that although agents are typically assigned single areas of
responsibilities, they are sometimes assigned two or three, and that it was management's right to
assign agents to specific areas of operation in order to address operational needs. With respect to
incident (6), S2b testified that he counseled Complainant for twice refusing to follow instructions
issued by her first-line supervisor directing all agents to sign an updated policy roster.

To ultimately prevail, Complainant must prove, by a preponderance of the evidence, that the
Agency's explanation is a pretext for discrimination. Reeves v. Sanderson Plumbing Prods., Inc.,
530 U.S. 133, 143 (2000); St. Mary's Hon. Ctr. v. Hicks, 509 U.S. 502, 519 (1993); Tex. Dep't
of Cmty. Affairs v. Burdine, 450 U.S. 248, 256 (1981). Pretext can be demonstrated by showing
such weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions in the
Agency's proffered legitimate reasons for its action that a reasonable fact finder could rationally
find them unworthy of credence. Opare-Addo v. U.S. Postal Serv., EEOC Appeal No.
0120060802 (Nov. 20, 2007), req. for reconsid. den'd EEOC Request No. 0520080211 (May 30,
2008). Indicators of pretext include discriminatory statements or past personal treatment
attributable to those responsible for the personnel action that led to the filing of the complaint,
comparative or statistical data revealing differences in treatment across various protected-group
lines, unequal application of Agency policy, deviations from standard procedures without
explanation or justification, or inadequately explained inconsistencies in the evidentiary record.
Mellissa F. v. U.S. Postal Serv., EEOC Appeal No. 0120141697 (Nov. 12, 2015).

Beyond her own assertions, Complainant has presented neither affidavits, declarations, unswom
statements, or hearing testimony from witnesses other than herself nor documents which
contradict or undercut the explanations provided by the various named management officials,
which cast doubt upon their veracity as witnesses, or which establish the existence of at least one
of the indicators of pretext listed above. We note also that the AJ made extensive and detailed
assessments of the credibility of the witnesses, finding Complainant less credible as a witness
than the supervisors and managers who were called to testify. An AJ's credibility determination
based on the demeanor of a witness or on the tone of voice of a witness will be accepted unless
documents or other objective evidence so contradicts the testimony or the testimony so lacks in
credibility that a reasonable fact finder would not credit it.
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See Equal Employment Opportunity Management Directive for 29 C.F.R. Part 1614 (EEO MD-
110), Chapt. 9, § VI(B) (Aug. 5, 2015). While Complainant challenges the AJ's findings, she
points to no evidence in the record that tends to undermine the credibility of the Agency's
management witnesses.

Further, to the extent that Complainant is alleging that she was subjected to a hostile
environment, we find that under the standards set forth in Harris v. Forklift Systems, Inc., 510
U.S. 17 (1993) that Complainant!s claim of a hostile work environment must fail. See
Enforcement Guidance on Harris v. Forklift Systems, Inc., EEOC Notice No. 915.002 (Mar. 8,
1994). A finding of a hostile work environment is precluded by our determination that
Complainant failed to establish that any of the actions taken by the Agency were motivated by
discriminatory or retaliatory animus. See Oakley v. U.S. Postal Serv., EEOC Appeal No.
01982923 (Sept. 21, 2000).

Regarding claim (5), Complainant claims that she had been denied official time sufficient to
pursue her EEO complaints. The Commission's regulations regarding the use of official time are
set forth as follows:

       If the complainant is an employee of the agency, he or she shall have a reasonable
       amount of official time, if otherwise on duty, to prepare the complaint and to
       respond to agency and EEOC requests for information. If the complainant is an
       employee of the agency and he designates another employee of the agency as his
       or her representative, the representative shall have a reasonable amount of official
       time, if otherwise on duty, to prepare the complaint and respond to agency and
       EEOC requests for information. The agency is not obligated to change work
       schedules, incur overtime wages, or pay travel expenses to facilitate the choice of
       a specific representative or to allow the complainant and representative to confer.
       The complainant and representative, if employed by the agency and otherwise in a
       pay status, shall be on official time, regardless of their tour of duty, when their
       presence is authorized or required by the agency or the Commission during the
       investigation, informal adjustment, or hearing on the complaint.

29 C.F.R. § 1614.605(b).        Reasonable is defined as appropriate, under the particular
circumstances of the complaint, in order to allow a complete presentation of the relevant
information associated with the complaint and to respond to Agency requests for information.
EEOC Management Directive 110, Chapter 6, § VII(C). The AJ found that on August 23, 2016,
the Deputy Patrol Agent in charge of official time requests approved eight hours of official time
as opposed to the 10 hours that Complainant requested. As to the request allegedly made on
September 4, 2016, Complainant admitted that she did not recall her request for official time on
that date, but the AJ found that she was approved for four hours of official time on September 5,
2016, and eight hours of official time on September 7, 2016. On September 12, 2016, the
Deputy Patrol Agent denied Complainant's request for eight hours of official time because
Complainant did not follow the established policy of requesting the time in advance.
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However, Complainant was granted eight hours of official time on September 23, 2016, and an
additional four hours of official time on October 7, 2016. Ultimately, we find that the record
does not support Complainant's contention that she was denied official time to pursue her EEO
complaints.

Upon careful review of the AJ's decision and the evidence of record, as well as the parties'
arguments on appeal, we conclude that substantial evidence of record supports the AJ's
detennination that Complainant was not subjected to discrimination, reprisal, or a hostile work
environment as alleged.

Accordingly, we AFFIRM the Agency's final order adopting the AJ's decision.

                            STATEMENT OF RIGHTS - ON APPEAL
                               RECONSIDERATION (M0920)

The Commission may, in its discretion, reconsider this appellate decision if Complainant or the
Agency submits a written request that contains arguments or evidence that tend to establish that:
        1.   The appellate decision involved a clearly erroneous interpretation of material fact or
             law; or
       2.    The appellate decision will have a substantial impact on the policies, practices, or
             operations of the agency.

Requests for reconsideration must be filed with EEOC's Office of Federal Operations (OFO)
within thirty (30) calendar days of receipt of this decision. If the party requesting
reconsideration elects to file a statement or brief in support of the request, that statement or
brief must be filed together with the request for reconsideration. A party shall have twenty
(20) calendar days from receipt of another party's request for reconsideration within which to
submit a brief or statement in opposition, See 29 C.F.R. § 1614.405; Equal Employment
Opportunity Management Directive for 29 C.F.R. Part 1614 (EEO MD-llo), at Chap. 9 § VII.B
(Aug. 5, 2015).

Complainant should submit his or her request for reconsideration, and any statement or brief in
support of his or her request, via the EEOC Public Portal, which can be found at
https:.pub1icportal.eeov;PortaILoñn.asj. Alternatively, Complainant can submit his or her
request and arguments to the Director, Office of Federal Operations, Equal Employment
Opportunity Commission, via regular mail addressed to P.O. Box 77960, Washington, DC
20013, or by certified mail addressed to 131 M Street, NE, Washington, DC 20507. In the
absence of a legible postmark, a complainant's request to reconsider shall be deemed timely filed
if OFO receives it by mail within five days of the expiration of the applicable filing period. See
29 C.F.R. § 1614.604.

An agency's request for reconsideration must be submitted in digital format via the EEOC's
Federal Sector EEO Portal (FedSEP). See 29 C.F.R. § 1614.403(g).
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Either party's request and/or statement or brief in opposition must also include proof of service
on the other party, unless Complainant files his or her request via the EEOC Public Portal, in
which case no proof of service is required.

Failure to file within the 30-day time period will result in dismissal of the party's request for
reconsideration as untimely, unless extenuating circumstances prevented the timely filing of the
request. Any supporting documentation must be submitted together with the request for
reconsideration. The Commission will consider requests for reconsideration filed after the
deadline only in very limited circumstances. See 29 C.F.R. § 16 14.604(c).


               COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (S0610)

You have the right to file a civil action in an appropriate United States District Court within
ninety (90) calendar days from the date that you receive this decision. If you file a civil action,
you must name as the defendant in the complaint the person who is the official Agency head or
department head, identifying that person by his or her full name and official title. Failure to do
so may result in the dismissal of your case in court. "Agency" or "department" means the
national organization, and not the local office, facility or department in which you work. If you
file a request to reconsider and also file a civil action, filing a civil action will terminate the
administrative processing of your complaint.

                          RIGHT TO REQUEST COUNSEL (Z0815)

If you want to file a civil action but cannot pay the fees, costs, or security to do so, you may
request permission from the court to proceed with the civil action without paying these fees or
costs. Similarly, if you cannot afford an attorney to represent you in the civil action, you may
request the court to appoint an attorney for you. You must submit the requests for waiver of
court costs or appointment of an attorney directly to the court, not the Commission. The
court has the sole discretion to grant or deny these types of requests. Such requests do not alter
the time limits for filing a civil action (please read the paragraph titled Complainant's Right to
File a Civil Action for the specific time limits).

FOR THE COMMISSION:



Carlton M. Hadden, Director
Office of Federal Operations


August 11,2021
Date
                                                                                                  I



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                               CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received
within five (5) calendar days after it was made available to the parties. I certify that on the
date below this decision was provided to the following recipients via the means identified for
each recipient:

Deliris Montanez
6108 Los Siglos
El Paso, TX 79912
Via U.S. Mail

R. Chris Pittard, Esq.
1777 Northeast Loop 410
Suite 600
San Antonio, TX 78217
Via U.S. Mail


Franklin C. Jones
Director, EEO
Department of Homeland Security
Customs and Border Protection
Via FedSEP


August 11, 2021
Date



Compliance and Control Division
              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                  Office of Federal Operations
                                         P.O. Box 77960
                                    Washington, DC 20013


                                     Deliris Montanez, a/k/a
                                           Bernice B.,'
                                          Complainant,

                                                V.



                                   Alejandro N. Mayorkas,
                                          Secretary,
                               Department of Homeland Security,
                                (Customs & Border Protection),
                                           Agency.

                                    Request No. 2021005026

                                    Appeal No. 2020001577

                  Agency Nos. HS-CBP-25773-201 6 & HS-CBP-00027-20l 7

                                 Hearing No. 450-2017-00293X

                    DECISION ON REQUEST FOR RECONSIDERATION

Complainant timely requested that the Equal Employment Opportunity Commission (EEOC or
Commission) reconsider its decision in Bernice B. v. Department of Homeland Security, EEOC
Appeal No. 2020001577 (August 11, 2021). EEOC regulations provide that the Commission
may, in its discretion, grant a request to reconsider any previous Commission decision issued
pursuant to 29 C.F.R. § 1614.405(a), where the requesting party demonstrates that: (I) the
appellate decision involved a clearly erroneous interpretation of material fact or law; or (2) the
appellate decision will have a substantial impact on the policies, practices, or operations of the
agency.      29 C.F.R. § 16 14.405(c).

During the relevant time, Complainant worked for the Agency as a Border Patrol Agent in El
Paso, Texas. On April 4, 2016, Complainant filed a formal complaint, claiming discrimination
based on race, national origin, sex, and in reprisal for prior protected activity when
Complainant's Watch Commander questioned her about completing required online courses; she


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 This case has been randomly assigned a pseudonym which will replace Complainant's name
when the decision is published to non-parties and the Commission's website.
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was issued a memorandum alleging that she engaged in unprofessional conduct; another
Supervisor Border Patrol Agency gave her a difficult time when she asked for an access code;
and she was assigned to cover two areas of responsibility herself.

On November 16, 2016, Complainant filed another formal complaint, claiming discrimination
based on sex, race/national origin, and in reprisal for prior protected activity when, management
officials denied her official time to participate in EEO activities; and a Watch Commander issued
her a performance counseling for not signing a policy roster.

The two formal complaints were consolidated. Following an investigation, Complainant
requested a hearing before an Administrative Judge (AJ). The AJ held a hearing on April 3 and
April 4, 2018. On August 16, 2019, the AJ issued a decision, finding no discrimination.
Thereafter, the Agency issued a final order adopting the AJ's decision.

In EEOC Appeal No. 2020001577, the Commission affirmed the Agency's final order adopting
the AJ's decision.

In the instant request for reconsideration, Complainant, through counsel, submits a            brief
expressing disagreement with the appellate decision. The arguments raised in the instant request,
however, were either raised on appeal from the Agency's final decision or could have been
raised below. There is considerable replication in the matters raised in the instant request and the
matters raised below on appeal from the Agency's final order. We emphasize that a request for
reconsideration is not a second appeal to the Commission. Equal Employment Opportunity
Management Directive for 29 C.F.R. Part 1614 (EEO MD-hO), Chap. 9 § VI.A (Aug. 5,2015);
see,       Lopez v. Dep't of Agric., EEOC Request No. 0520070736 (Aug. 20, 2007). Rather, a
reconsideration request is an opportunity to demonstrate that the appellate decision involved a
clearly erroneous interpretation of material fact or law, or will have a substantial impact on the
policies, practices, or operations of the Agency. Complainant has not done so here.

After reviewing the previous decision and the entire record, the Commission finds that the
request fails to meet the criteria of 29 C.F.R. § 1614.405(c), and it is the decision of the
Commission to deny the request. The decision in EEOC Appeal No. 2020001577 remains the
Commission's decision. There is no further right of administrative appeal on the decision of the
Commission on this request.

               COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (P06 10)

This decision of the Commission is final, and there is no further right of administrative appeal
from the Commission's decision. You have the right to file a civil action in an appropriate
United States District Court within ninety (90) calendar days from the date that you receive
this decision. If you file a civil action, you must name as the defendant in the complaint the
person who is the official Agency head or department head, identifying that person by his or her
full name and official title.
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Failure to do so may result in the dismissal of your case in court. "Agency" or "department"
means the national organization, and not the local office, facility or department in which you
work.

                            RIGHT TO REQUEST COUNSEL (Z08 15)

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court costs or appointment of an attorney directly to the court, not the Commission. The
court has the sole discretion to grant or deny these types of requests. Such requests do not alter
the time limits for filing a civil action (please read the paragraph titled Complainant's Right to
File a Civil Action for the specific time limits).

FOR THE COMMISSION:



Carlton M. Hadden, Director
Office of Federal Operations


January 26, 2022
Date
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                               CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received
within five (5) calendar days after it was made available to the parties. I certify that on the
date below this decision was provided to the following recipients via the means identified for
each recipient:

Deliris Montanez
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Via FedSEP


January 26. 2022
Date



Compliance and Control Division
